Case 5:02-cr-30020-MFU-RSB Document 1543 Filed 08/21/20 Page 1 of 1 Pageid#: 4421


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                            HARRISONBURG DIVISION


  Khary Jamal Ancrum
  Petitioner


  vs.                                         Action No. 5:02-cr-30020-2


  USA
  Respondent

                                       NOTICE

         This case is before the Court pursuant to respondent’s Motion to Dismiss
  filed 8/20/2020.    The Court will give petitioner twenty‐one (21) days from the
  date of this Notice to submit any further counter‐affidavits or other relevant
  evidence contradicting, explaining, or avoiding respondent's evidence. Both sides
  are advised that if documents or affidavits outside the pleadings are submitted by
  either party, any motion(s) to dismiss under Rule 12(b)(6) of the Federal Rules of
  Civil Procedure may be considered as motion(s) for summary judgment under Rule
  56 of the Federal Rules of Civil Procedure.     If petitioner believes that he has
  already provided sufficient support for his claims, he need not submit any
  additional response to respondent's motion unless he chooses to do so.
         Issued and mailed this 21st day of August, 2020.


                                        JULIA C. DUDLEY, CLERK
                                      By: s/J. Vasquez
                                          Deputy Clerk
